
25 A.3d 1023 (2011)
421 Md. 189
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Lester Anthony Douglas ADAMS, Respondent.
Misc. Docket AG No. 96, September Term, 2010.
Court of Appeals of Maryland.
July 28, 2011.

ORDER
Upon consideration of the Joint Petition for Disbarment By Consent filed here in pursuant to Maryland Rule 16-772, it is this 28th day of July, 2011,
ORDERED, by the Court of Appeals of Maryland, that Lester Anthony Douglas Adams be, and he hereby is, disbarred by consent from the practice of law in the State of Maryland, effective thirty (30) days after the date of this order; and it is further,
ORDERED, that the Clerk of this Court, thirty (30) days after the date of this order, shall strike the name of Lester Anthony Douglas Adams from the register of attorneys in this Court and, pursuant to Maryland Rule 16-772(d), shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and clerks of all judicial tribunals in this State that the name of Lester Anthony Douglas Adams has been so stricken.
